Case 3:21-cv-01374-BEN-JLB Document 54 Filed 01/14/22 PageID.111 Page 1 of 2




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  14                               UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA
  15
       DINA ST. GEORGE, individually and                  Case No. 3:21-cv-01374-BEN-JLB
  16   on behalf of all others similarly
       situated,                                          JOINT MOTION TO DISMISS
  17                                                      ACTION WITH PREJUDICE
                         Plaintiff,
  18
       vs.
  19

  20   CMRE FINANCIAL SERVICES, INC.,
       an California corporation,
  21
                         Defendant.
  22

  23
                      Plaintiff Dina St. George and Defendant CMRE Financial Services, Inc.,
  24
       pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby jointly move for
  25
       the dismissal of this action as follows: All claims of Plaintiff are hereby dismissed
  26
       with prejudice. All claims of the putative class members are hereby dismissed
  27
       without prejudice. Each party to bear their own costs and attorney’s fees.
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       {00165005;1}
Case 3:21-cv-01374-BEN-JLB Document 54 Filed 01/14/22 PageID.112 Page 2 of 2




   1                                    Respectfully submitted,
   2                                    HIRALDO P.A.
   3   Dated: January 14, 2022
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  15   Dated: January 14, 2022          CARLSON & MESSER LLP
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